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 7
 8    Attorneys for Plaintiff Craig Cunningham
 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
11
12    CRAIG CUNNINGHAM,
13                                               Case No. 8:18-cv-01093-AG-AGR
                        Plaintiff,
14          v.                                   NOTICE OF SETTLEMENT OF
15                                               ENTIRE ACTION
      PERFORMANCE SLC LLC,
16
      PERFORMANCE SETTLEMENT
17    LLC, DANIEL J. CRENSHAW, and
18    DOES 1-10,

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                        Defendants.
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                                NOTICE OF SETTLEMENT
     Case 8:18-cv-01093-AG-AGR Document 89 Filed 09/08/19 Page 2 of 3 Page ID #:2563




 1          NOW COMES THE PLAINTIFF by and through their attorney to
 2    respectfully notify this Honorable Court that this case has settled. Plaintiff request
 3    that this Honorable Court vacate all pending hearing dates, abstain from issuing a
 4    final ruling on any and all pending Motions, and allow thirty (30) days with which
 5    to file dispositive documentation. Dispositional documents will be forthcoming.
 6    This Court shall retain jurisdiction over this matter until fully resolved.
 7
 8
      Dated: September 8, 2019                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 9
10
11                                            By: /s/ Adrian R. Bacon
                                                Todd M. Friedman
12                                              Adrian R. Bacon
13
                                              Attorneys for Plaintiff
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                                  NOTICE OF SETTLEMENT
     Case 8:18-cv-01093-AG-AGR Document 89 Filed 09/08/19 Page 3 of 3 Page ID #:2564




 1                             CERTIFICATE OF SERVICE
 2    United States District Court CM/ECF system
 3
      Notification sent electronically on this 8th day of September, 2019, to:
 4
 5    Honorable Judge Andrew Guilford
 6    United States District Court
      Central District of California
 7
 8    All Counsel of Record on the ECF
 9    s/Adrian R. Bacon
10    Adrian R. Bacon, Esq.
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                                 NOTICE OF SETTLEMENT
